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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA

IN RE: THE APPLICATION OF CASE NO.:
JHONNY VICENTE CABRERA RINCON,
Plaintiff/Petitioner,
Vv.
EVELYN ALONSO PEREZ,

Defendant/Respondent.
/

VERIFIED COMPLAINT AND PETITION
FOR RETURN OF THE CHILD

Plaintiff/Petitioner, JHONNY VICENTE CABRERA RINCON (hereinafter Petitioner)
respectfully shows this Court as follows:

1. This action is brought by JHONNY VICENTE CABRERA RINCON
(Petitioner), a citizen of Venezuela, to secure the return of his five (5) year old daughter,
Nicole Camille Cabrera Alonso, who was, without Petitioner's consent or acquiescence,
wrongfully retained/removed from Venezuela to the Southern District of Florida by the
child’s mother, EVELYN ALONSO PEREZ (Respondent).'

2. This Petition is filed pursuant to the Convention on the Civil Aspects of
International Child Abduction (the “Hague Convention” or the “Convention’) and the
International Child Abduction Remedies Act (“ICARA”). The Hague Convention came into

1. Although there are additional facts that can be set forth, for purposes of this Complaint, the Respondent
has wrongfully retained the child after initially coming to Miami for the summer of 2013 and then convincing
her Husband/Petitioner that their minor child was quickly learning English and that they should enroll the child
in school for the fall semester and returning to Venezuela in November/December of 2013. See attached
e-mail marked as exhibit “A” introduced into evidence in support of the Plaintiff's Motion to Dismiss in
proceedings in the Family Division of the Eleventh Judicial Circuit under Case # 2013-030371-FC-39 which
has resulted in the entry of a Final Order of Dismissal dated October 7, 2014. See attached Final Order of
Dismissal marked as exhibit “B”. As presented and proven in the family court proceedings, the Respondent
was divorce planning, forum shopping and attempting to stay in Florida the requisite six (6) months for
jurisdictional purposes without the Plaintiff's knowledge or consent and therefore has wrongfully retained the
child and violated the Plaintiff's rights to custody and companionship of his daughter. Furthermore, there are
pending dissolution proceedings in Venezuela and the Venezuelan court has taken jurisdiction of the parties

dissolution of marriage case and Venezuela is the Home State of the Child in accordance with the UCCJEA.
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effect in the United States of America on July 1, 1988, and has been ratified between,
among other Contracting States, the United States of America and Venezuela.

3. The objects of the Hague Convention are:

a. Article 1(a): To secure the prompt return of children wrongfully
removed to or retained in any Contracting State; and

b. Article 1(b): To ensure that rights of custody and of access under
the law of one Contracting State are effectively
respected in other Contracting States.

4, The Hague Convention authorizes a federal district court to determine the
merits of a claim for the wrongful removal or retention of a child; it does not, however,
permit the district court to consider the merits of any underlying custody dispute.

5. This Court has jurisdiction over this case pursuant to 42 USC § 11603(a) and
28 USC § 1331. Venue is property pursuant to 42 USC § 11603 and 28 USC § 1391(b)
because the child and Respondent are residing in the Southern District of Florida at 2333
Brickell Avenue, TSF, Miami, Florida.

6. Petitioner and Respondent are the parents of the Child. Attached is a copy
of the child birth records as Exhibit “C”. Petitioner and Respondent were married in
Venezuela and continue to be married as of the date of the wrongful removal of the Child
on-December 4, 2013. Attached is a copy of the parties certificate of marriages as Exhibit
“D”.

7. On May 14, 2009, Respondent gave birth to the Child in Miami, Florida.

8. Until the date of separation between Petitioner and Respondent, Petitioner,
Respondent and the Child lived together at their familial residence at Av. La Colina, Con
Calle El Calvario, Qta. Mi Viejo, Urbanizacion Alto Hatillo, Miranda, Caracas, Venezuela.
Attached is copy of Petitioner and Child’s Confirmation of Residence and Letter of
Residence, respectively, as Exhibits “E” and “F”.

9. The Child attended school at A.E.U. Colegio Academia Merici in Venezuela
until her wrongful removal. Attached are the child’s school Confirmation and Good
Conduct Confirmation as Exhibits “G” and “H”.

10. | Throughout, the Petitioner has continued to exercise his parenting rights and
maintained his relationship with the Child.

11. At the present time, there is a suit for divorce between Petitioner and
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Respondent pending in Caracas, Venezuela.

12. Respondent abducted and/or has retained Nicole Camille Cabrera Alonso
from Venezuela without Petitioner's permission.

13. | Upon information and belief, the Child is currently being kept in the company
of the Respondent at 2333 Brickell Avenue, #TSF, Miami, Florida.

14. On August 5, 2014, Petitioner's Request for Return of the Child was
submitted to the United States Department of State through the Venezuelan Central
Authority. Attached is the letter from the Venezuelan Central Authority along with the
Respondent's Hague Application Form as composite Exhibit “I”.

15. Assetforth above, on or about December 4, 2013 Respondent retained the
child and/or wrongfully removed the Child within the meaning of Article 3 of the Convention
and continues to wrongfully retain the Child in the State of Florida, United States, in
violation of Article 3 and despite Petitioners efforts to have the Child returned to
Venezuela.

16. Petitioner has never acquiesced or consented to the removal/retention of the
Child from Venezuela to the United State or to her living outside of Venezuela.

17. | Respondent's removal and retention of the Child is wrongful within the
meaning of Article 3 of the Convention because:

a. It is in violation of Petitioner's rights of custody as established by the
Venezuelan law. Specifically, Respondent’s removal and retention of the Child is in
violation of Petitioner's right as a physical custodian to determine the Child’s place of
residence;

b. At the time of the Child’s removal from Venezuela, Petitioner was
actually exercising his rights of custody withing the meaning of Articles 3 and 5 of the
Convention and, but for the Respondent’s removal and retention of the Child, Petitioner
would have continued to exercise those rights; and

Cc. The Child was habitually resident with Petitioner in Venezuela within
the meaning of Article 3 of the Convention immediately before her removal and retention
by Respondent.

18. | Respondent is presently wrongfully retaining the Child in the State of Florida,
County of Miami-Dade.

19. Respondent is keeping the Child at 2333 Brickell Avenue, #TSF, Miami,
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Florida.

20. The Child is now five years old. The Hague Convention applies to children
under sixteen (16) years of age and thus applies to this Child.

21. The Petition is filed less than one year from Respondent’s wrongful removal
and/or retention of the Child. Petitioner has never consented or acquiesced to
Respondent's wrongful removal or retention of the Child.

22. Petitioner requests that this Court issue an immediate order restraining
Respondent from removing the Child from the jurisdiction of this Court, and a warrant
seeking immediate physical custody of the Child, directing any United States Marshall or
other law enforcement officer to bring the Child before this Court. Petitioner also asks that
this Court schedule an expedited hearing on the merits of this Petition.

23. Petitioner has incurred attorney's fees and costs as a result of the wrongful
retention of the Child by Respondent.

24. Pursuant to 42 USC § 11603(c), Respondent shall be given notice of these
proceedings in accordance with the laws governing notice in interstate child custody
proceedings.

WHEREFORE, Petitioner, JHONNY VICENTE CABRERA RINCON, prays for the
following relief:

a. An immediate temporary restraining order prohibiting the removal of
the Child from the jurisdiction of this Court pending a hearing on the merits of this Verified
Complaint, and further providing that no persona acting in concert or participating with
Respondent shall take any action to remove the Child form the jurisdiction of this Court
pending a determination on the merits of the Verified Complaint;

b. The scheduling of an expedited preliminary injunction hearing on the
merits of the Verified Complaint; an order that Respondent show cause at this hearing why
the Child should not be returned to Venezuela, and why such other relief requested in the
Verified Complaint should not be granted; and, pursuant to Federal Rule of Civil Procedure
65, an order that the trial of the action on the merits be advanced and consolidated with
the hearing on the Verified Complaint;

Cc. A final judgment in Petitioner’s favor establishing that the Child shall
be returned to Venezuela, where an appropriate custody determination can be made by

a Venezuelan court under Venezuelan law;
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d. An Order requiring that Respandent pay Petitioner's expenses and
costs, including transportation costs; under 42 USC § 11607, such expenses and costs to
be resolved via post-judgment motion; and

e. For any such further relief as may be just and appropriate under the
circumstances of this case,

lunderstand that | am swearing or affirming under oath to the truthfulness of
the claims made in this affidavit and that the punishment for knowingly making a
false statement Includes fines and/or imprisonment.
Dated: __/// J ¢
Kop

r

JHONNY ye CABRERA RINCON

STATE OF }
COUNTY OF )

The foregoing instrument was acknowledged before me this day of
_, 2014 by JHONNY VINCENT CABRERA RINCON, who is personally

known to me or has praduced as identification and who did take an
oath. *
My Commission expires: Notary Public

Suite 502

Coral Gables, Fi
(308) 443-879
Javipa@oam w.com

By:
JAVIER PEREZ-ABREU ESQ.
Florida Bar #:/508410

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? Plaintiff is In the process of executing the sh the prespnce of a Notary al the US
Embassy or US Consulate in Caracas, Venezuela and the notarized original will be subsequently filed with
the Court upon receipt.
